Case 18-67444-pmb   Doc 5   Filed 10/16/18 Entered 10/16/18 16:06:48   Desc Main
                            Document      Page 1 of 8
Case 18-67444-pmb   Doc 5   Filed 10/16/18 Entered 10/16/18 16:06:48   Desc Main
                            Document      Page 2 of 8
Case 18-67444-pmb   Doc 5   Filed 10/16/18 Entered 10/16/18 16:06:48   Desc Main
                            Document      Page 3 of 8
Case 18-67444-pmb   Doc 5   Filed 10/16/18 Entered 10/16/18 16:06:48   Desc Main
                            Document      Page 4 of 8
Case 18-67444-pmb   Doc 5   Filed 10/16/18 Entered 10/16/18 16:06:48   Desc Main
                            Document      Page 5 of 8
Case 18-67444-pmb   Doc 5   Filed 10/16/18 Entered 10/16/18 16:06:48   Desc Main
                            Document      Page 6 of 8
Case 18-67444-pmb   Doc 5   Filed 10/16/18 Entered 10/16/18 16:06:48   Desc Main
                            Document      Page 7 of 8
Case 18-67444-pmb   Doc 5   Filed 10/16/18 Entered 10/16/18 16:06:48   Desc Main
                            Document      Page 8 of 8
